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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


ECOLOGY MIR GROUP, LLC,

       Plaintiff,

v.                                            Civil Action No.:1:17-cv-00755 (LMB/IDD)

JOSEPH J. HANSON, et al.,

       Defendants.


                    PLAINTIFF’S BRIEF IN OPPOSITION TO
             DEFENDANT’S MOTION TO DISMISS UNDER RULE 12(B)(6)

       Plaintiff, Ecology Mir Group, LLC (“EMG”), by counsel and for its Brief in Opposition

to the Motion to Dismiss filed by Defendants, Joseph J. Hanson (“Hanson”) and Blackcrest

Associates, LLC (“Blackcrest”), states as follows:

                                         INTRODUCTION

       Hanson does not challenge the sufficiency of EMG’s allegations that he misappropriated

its trade secrets; indeed, he filed no responsive pleading to those allegations at all. For purposes

of this 12(b)(6) Motion, the Court must take as true the fact that Hanson had access to EMG’s

confidential and trade secret information, and that he left EMG and promptly began competing

against it by using EMG’s confidential and trade secret information.

       As this Court explained in Brainware, Inc. v. Mahan, Hanson’s access to EMG’s

confidential and trade secret information, and his decision to use that information to directly

compete with EMG, counsel strongly in favor of the reasonableness of his non-competition and

non-disclosure agreements. Hanson’s arguments with respect to the other counts at issue misread

the facts and the law applicable to his actions. His motion should be denied in full.

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                                              FACTS

           I.      EMG’s trade secrets

       EMG has developed unique and proprietary systems, methodologies, and strategies for

pricing and bidding on certain government contracts utilizing the FedBid procurement platform.

(Compl. ¶ 8). EMG developed these systems, methodologies, and strategies through significant

work and the substantial investment of time and resources, which is not easily replicated.

(Compl. ¶ 9). EMG claims these systems, methodologies and strategies as trade secrets (the

“EMG Trade Secrets”). (Compl. ¶¶ 9-10). Defendants do not challenge the sufficiency of EMG’s

allegations that it possesses these trade secrets, and that Defendants misappropriated them.

           II.     Hanson’s Agreement and work with EMG

       EMG engaged Hanson as an independent contractor under an “Agreement Not To

Disclose, Circumvent Or To Compete” (the “Agreement”) (Compl. ¶¶ 2, 12; Compl. Exh. A).

The Agreement restricts Hanson’s ability to complete with EMG following the termination of his

engagement with EMG, and restricts Hanson’s ability to disclose EMG’s “Confidential

Information.”

       The Agreement clearly provides that Hanson is prohibited from disclosing the secret or

confidential information of EMG. The Agreement states:

       1. Definitions: For the purposes of this Agreement, “Confidential Information”
          shall mean any information, technical data or know-how, acquired by
          Company or subsequently developed, including but not limited to, customer
          lists, customer and supplier identities, agreements, characteristics,
          formulations, specifications, sales and marketing information, sales figures,
          pricing and cost information, marketing plans and business plans, forecasts,
          financial information, budgets, data bases, computer programs, software
          (whether in object or source code), research papers, projections, practices,
          procedures, processes, routines, formulae, trade secrets, ideas, innovations,
          inventions, technology, machinery, drawings, photographs, equipment,
          devices, tools, discoveries, improvements, research or development and test
          results, data, formats, plans, sketches, drawings, models, any intellectual

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           property, patents, trademarks, and copyrights and applications therefore, all
           rights and information necessary to produce and/market all products of
           Company and to conduct the business of Company as conducted or planned,
           or which pertains in any manner to subjects or knowledge of the business or
           operation of Company or other information, tangible or intangible, owned,
           developed or possessed by company, whether or not marked as “'confidential”,
           and any other information or procedures that are treated as or designated
           secret or confidential by Company or its suppliers, customers or potential
           customers.

(Compl. Exh. A, § 1) (emphasis added).

       Hanson agreed that he will not “use for organizational gain, personal gain or for the gain

of others, or disclose or divulge to others…any Confidential Information in violation of this

agreement.” (Compl. Exh. A, § 4). Thus, Hanson agreed that he would not use information

treated “as secret or confidential” by EMG and its business partners. Defendants do not

challenge EMG’s allegations that the EMG Trade Secrets fall within these restrictions. EMG’s

Trade Secrets, and any other “information or procedures that are treated or designated as secret

or confidential” by EMG, are restricted from further disclosure by the Agreement, and Hanson’s

disclosure of such “secret or confidential” information violates this provision.

       The Agreement also contains a “Non-Compete” provision. It provides:

       The term “not compete” as used herein shall mean that the Undersigned Party
       [Hanson] shall not own, manage, operate, consult to or be employed in a business
       substantially similar to or competitive with the present business of Company or
       such other business activity in which Company may subsequently engage during
       the term of ownership.

(Compl. Exh. A, § 7) (emphasis added).




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       The “Non-Compete” provision is limited to a three-year term. (Compl. Exh. A, § 15). The

“Non-Compete” provision is limited to work that is “substantially similar to or competitive with”

the work Hanson performed for EMG.1

       Pursuant to the Agreement and Hanson’s work for EMG, EMG gave Hanson access to the

EMG Trade Secrets and other information it treats as “secret or confidential,” including EMG’s

unique reverse pricing and bidding strategy which it uses to secure bids for government contracts

using the FedBid platform. (Compl. ¶ 13). In addition, through his work with EMG, Hanson had

access to and learned of the contracts that had been awarded to EMG, the terms of those

contracts (including pricing terms), the date for re-bid of those contracts, the identity of EMG’s

vendors and suppliers, and the terms of EMG’s pricing agreements with its vendors and

suppliers, all of which can be used to undercut EMG’s future bids on contracts. (Id). Hanson had

no prior experience or knowledge of such information. (Compl. ¶ 14).

           III.   Hanson diverts the EMG trade secrets and uses them to directly compete
                  with EMG through the formation of Blackcrest

       Hanson’s working relationship with EMG ended in the summer of 2016 on good terms.

(Compl. ¶ 15). Hanson continued to be governed by the Agreement for a period of three years,

including its requirements that he maintain the confidentiality of EMG’s “secret or confidential

information,” and that he not engage in work “substantially similar to or competitive with”

EMG’s business. (Compl. ¶ 15).

       Unbeknownst to EMG, Hanson formed Blackcrest on January 30, 2017. (Compl. ¶ 17).

Blackcrest then began actively bidding on the same government contracts that EMG services.



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  The Agreement also contains a “Partial Invalidation” clause, such that, if any portion of the
Agreement is unenforceable, the parties agreed that it would not invalidate any other portion of
the Agreement. (Exh. A, § 12). The parties further agreed that any portion of the Agreement that
is unenforceable “shall, if possible, be deemed amended or reduced in scope.” (Id.).
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(Id.). Hanson, and by extension Blackcrest’s, knowledge of successful bidding strategies for

these contracts comes solely from Hanson’s access to EMG’s secret and confidential

information, which was provided to him under the terms of the Agreement. (Compl. ¶¶ 13-14,

18). In violation of the Agreement and Hanson’s other duties to EMG under Virginia and federal

law, Blackcrest used the EMG Trade Secrets and other information EMG treats as secret or

confidential to directly replicate and conduct the same business as EMG. (Compl. ¶¶ 18-19).

       Indeed, EMG lost three bids on its own key contracts to provide hotel lodging to military

personnel, which were being rebid. (Compl. ¶ 16). EMG discovered that it was the second lowest

bidder on each contact, and in each case, had been slightly underbid by Blackcrest. (Id.). EMG

was the prior successful bidder on these contracts, and was outbid only by Blackcrest when these

contracts came up for rebid. (Id.). EMG would have successfully secured the re-bid of these

contracts if not for Hanson’s unlawful conduct. (Compl. ¶ 55). Hanson essentially spent his time

with EMG to obtain a confidential “starter kit” for replicating its business, and he is now using

that confidential information to directly compete with EMG.

                                     STANDARD OF REVIEW

       A motion to dismiss under Rule 12(b)(6) tests the sufficiency of the plaintiff’s complaint.

Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999). “[O]nly a complaint that states

a plausible claim for relief survives a motion to dismiss.” Ashcroft v. Iqbal, 556 U.S. 662, 679

(2009). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. at 678 (citation omitted). In making this determination, the Court must “accept the well-pled

allegations of the complaint as true,” and “construe the facts and reasonable inferences derived




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therefrom in the light most favorable to the plaintiff.” Ibarra v. United States, 120 F.3d 472, 474

(4th Cir. 1997).

                                           ARGUMENT

       I.      The “confidentiality,” or non-disclosure, provision of the Agreement is
               enforceable on its face, and any challenge to that provision must be
               established by the presentation of factual evidence (Count I)

       The Agreement’s confidentiality provision prohibits Hanson from disclosing “information

or procedures that are treated as or designated secret or confidential by Company or its suppliers,

customers or potential customers.” (Compl. Exh. A, § 1). Although the provision contains a long

list of the type of information that may fall within its scope, all such information must have been

treated as “secret or confidential” by EMG or its business partners to be protected. Contrary to

Hanson’s argument, this is a very narrow and reasonable restriction.

       Indeed, regardless of the Agreement, Hanson has a common law duty “not to reveal

confidential information obtained through his employment and not to use such confidential

information after he has left his employment.” Bull v. Logetronics, Inc., 323 F. Supp. 115, 133

(E.D. Va. 1971). This “duty to be faithful does not cease when the employment ends.” Id. “Even

where the contract of employment does not prohibit an employee from engaging in competitive

businesses after the termination of his employment, there is a restraint that he may not use

‘confidential information or trade secrets obtained from the former employer, appropriating, in

effect, to his competitive advantage what rightfully belongs to his employer.’” Id. (quoting

Community Counselling Service v. Reilly, 317 F.2d 239, 244 (4th Cir. 1963)). The Agreement

merely memorializes this common law rule governing Hanson’s work with EMG and is

enforceable as such.




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       II.     The “non-compete” provision is enforceable on its face, and any challenge to
               that provision must be established by the presentation of factual evidence
               (Count II)

       Like any writing, a non-competition agreement must be construed as a whole,

harmonizing its provisions where possible. The language of every non-compete agreement must

also be considered in the context of the facts of the specific case. Modern Environments, Inc. v.

Stinnett, 263 Va. 491, 495, 561 S.E.2d 694, 696 (2002). For this reason, whether a non-compete

is enforceable depends on the development of a factual record. See id. (“each case must be

determined on its own facts”); see also Omniplex World Servs. Corp. v. U.S. Investigations

Servs., Inc., 270 Va. 246, 249, 618 S.E.2d 340, 342 (2005) (“Each non-competition agreement

must be evaluated on its own merits, balancing the provisions of the contract with the

circumstances of the businesses and employees involved.”).

       A non-competition agreement will be enforced if it is “narrowly drawn to protect the

employer’s legitimate business interest, not unduly burdensome on the employee’s ability to earn

a living, and not against public policy.” Preferred Sys. Solutions, Inc. v. GP Consulting, LLC, 284

Va. 382, 392–93, 732 S.E.2d 676, 681 (2012). In evaluating these factors, the Court should

“consider the function, geographic scope, and duration of the restriction.” Id. These “limitations

must be considered together,” without isolating or emphasizing any of the factors. Simmons v.

Miller, 261 Va. 561, 581, 544 S.E.2d 666, 678 (2001). A “single consideration that is

unreasonable may be reasonable as construed in light of the other two.” Capital One Fin. Corp.

v. Kanas, 871 F. Supp. 2d 520, 530 (E.D. Va. 2012) (citation omitted).

       As Hanson admits, his access to confidential information counsels in favor of the

reasonableness of the covenant. (ECF No. 13 at 6) (quoting Brainware, Inc. v. Mahan, 808 F.

Supp. 2d 820, 826 (E.D. Va. 2011)). Indeed, possession of trade secrets and confidential



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information is an important consideration in assessing reasonableness. Brainware, 808 F. Supp.

2d at 826-27 (citing cases). As the Supreme Court of Virginia has recognized:

        The fact that the employment is of such a character as to inform the employee of
        business methods and trade secrets which, if brought to the knowledge of a
        competitor, would prejudice the interests of the employer, tends to give an
        element of reasonableness to a contract that the employee will not engage in a
        similar business for a limited time after the termination of his employment, and is
        always regarded as a strong reason for upholding the contract.

Worrie v. Boze, 191 Va. 916, 928, 62 S.E.2d 876, 882 (1951).

        Contrary to Hanson’s argument, whether the restrictive covenant is enforceable cannot be

properly considered on this motion to dismiss. As the Supreme Court of Virginia has explained

when construing non-competition agreements under Virginia law:

      [A] premise running through…our other decisions is that restraints on competition
      are neither enforceable nor unenforceable in a factual vacuum. Based on evidence
      presented, a trial court must ascertain whether a restraint is narrowly drawn to
      protect the employer’s legitimate business interest, is not unduly burdensome on
      the employee’s ability to earn a living, and is not against public policy. An
      employer may prove a seemingly overbroad restraint to be reasonable under the
      particular circumstances of the case.
Assurance Data, Inc. v. Malyevac, 286 Va. 137, 144–45, 747 S.E.2d 804, 808 (2013).

        Hanson’s argument is nothing more than an improper attempt to short-circuit this fact-

finding process. Just like this Court’s decision in Brainware, Hanson’s extensive knowledge of

EMG’s business “support[s] the conclusion that the Agreement’s non-compete provision does not

extend further than necessary to protect [the company’s] legitimate business interests.” 808 F.

Supp. 2d at 827. “Moreover, the business environment here is a salient factor.” Id. Hanson is

competing directly with EMG for the very same contracts, using his insider knowledge of EMG’s

confidential business strategies. These are “factors that weigh heavily in plaintiff’s favor.” Id. A

review of the specific considerations also bears out the reasonableness of the covenant on its

face.



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               A. Function

       Valid non-competition provisions prohibit “an employee from engaging in activities that

actually or potentially compete with the employee’s former employer.” Omniplex World Servs.,

270 Va. at 249, 618 S.E.2d at 342. The Non-Compete at issue here prohibits Hanson from

working “in a business substantially similar to or competitive with” EMG’s business. This

restriction is similar to restrictions that have been upheld, in particular those which prohibit an

employee from rendering “competing services” for another company. Advanced Marine Enters.,

256 Va. at 118-19, 501 S.E.2d at 155; see also Brainware, 808 F. Supp. 2d at 823 (employee

would not “in any capacity whatsoever” render assistance to “products or services competitive

with those” of his former company); Rash v. Hilb, Rogal & Hamilton Co., 251 Va. 281, 285, 467

S.E.2d 791, 794 (1996) (employee “shall not directly or indirectly as an...employee...or other

participant...engage in any manner in any” competing business); Blue Ridge Anesthesia &

Critical Care, Inc. v. Gidick, 239 Va. 369, 370, 389 S.E.2d 467, 468 (1990) (employee will not

“be employed by” any competitor); Roanoke Eng’g Sales Co., Inc. v. Rosenbaum, 223 Va. 548,

551, 290 S.E.2d 882, 883 (1982) (employee will not “directly or indirectly...be employed by”

any competing business); Auto-Chlor Sys. of N. Va., Inc. v. Church, 53 Va. Cir. 295 (Fairfax

2000) (employee is prohibited from “either directly or indirectly…participating in…any

business…competitive with or similar to, the business as then conducted”). The provision is not

overly broad on its face.

               B. Geographic scope

       Whether the geographic scope of a non-compete provision is reasonable is also an

evidentiary question that requires factual development. The Supreme Court of Virginia has

upheld restrictive covenants which completely lack a geographic restriction. Foti v. Cook, 220



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 Va. 800, 805–07, 263 S.E.2d 430, 433–34 (1980); see also Brainware, 808 F. Supp. 2d at 827

 (upholding non-compete without a geographic limit); Advanced Marine Enters., Inc. v. PRC Inc.,

 256 Va. 106, 119, 501 S.E.2d 148, 155 (1998) (upholding non-compete which prohibited a

 former employee from competing with the employer within 50 miles of its offices, even though it

 had 300 offices worldwide).

           Hanson concedes this point, and admits that covenants unlimited in geographic scope are

 not per se unreasonable. (ECF No. 13 at 8) (quoting Brainware, 808 F. Supp 2d at 827). This is

 particularly true in light of the nature of the government contracting business at issue here, which

 extends wherever the government contracts for services. This is an issue that must be further

 developed, and the Court must take evidence to determine the reasonableness of the geographic

 scope of the non-compete.

                  C. Duration

           Hanson could have worked with EMG for one day, and this fact alone does not make the

 three-year duration of the non-compete overly broad. As Hanson again admits, the “Virginia

 Supreme Court has found restrictive covenants that last as long as three years to be enforceable.”

 (ECF No. 13 at 9); accord Blue Ridge Anesthesia, 239 Va. at 374, 389 S.E.2d at 470; Roanoke

 Eng'g Sales Co., 223 Va. at 556, 290 S.E.2d at 887; see also Kanas, 871 F. Supp. 2d 520

 (upholding five-year non-compete); Meissel v. Finley, 198 Va. 577, 95 S.E.2d 186 (1956)

 (upholding five-year non-compete). Whether the temporal scope of three years is reasonable

 depends on the nature of EMG’s business and the commercial advantage its confidential

 information holds, which requires factual development before any decision may be made on the

 merits.




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                D. Reformation

        In the event any part of the restrictive covenant at issue in this case is unenforceable, the

 Court may reform the restriction to make it reasonable. See 61 A.L.R.3d 397. As Hanson

 concedes, the Supreme Court of Virginia has never resolved this issue (ECF No. 13 at 11), and

 the parties expressly agreed to this remedy (Compl. Exh. A, § 12). Consequently, the Court may

 reform the restriction in the event it finds any part of it unreasonable pursuant to the agreed

 “Partial Invalidation” provision of the parties’ Agreement, which provides that any portion of the

 Agreement that is unenforceable “shall, if possible, be deemed amended or reduced in scope.”

 (Compl. Exh. A, § 12).

        III.    EMG pleaded a sufficient cause of action for conversion, which is not limited
                to “tangible” documents or trade secret information (Count V)

        Conversion is the wrongful exercise of control over another’s property. United Leasing

 Corp. v. Thrift Ins. Corp., 247 Va. 299, 305, 440 S.E.2d 902, 905 (1994). Defendants’ conversion

 of   EMG’s    confidential   information,   including    information   concerning      its   systems,

 methodologies, and strategies for pricing and bidding, is actionable. (Compl. ¶ 49).

        Despite arguing that conversion only lies over physical property and other assets

 “merged” with a document based on the Supreme Court of Virginia’s decision in United Leasing,

 Hanson admits that United Leasing “did not hold that, where intangible property rights are at

 stake, a conversion action would not lie if there was no merger.” (ECF No. 13 at 16) (emphasis

 added) (quoting E.I. du Point de Nemours & Co. v. Kolon Indus., 2011 WL 4625760, *5 (E.D.

 Va. Oct. 3, 2011). As Hanson also admits, this Court has ruled that conversion can lie to remedy

 the wrongful exercise of dominion over intangible property, including confidential information.

 (ECF No. 13 at 14-15) (citing Kolon Indus., 2011 WL 4625780); see also Carpenter v. United




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 States, 484 U.S. 19, 26 (1987) (“confidential business information has long been recognized as

 property”).

         As this Court has held, United Leasing only applies to “the kind of property which, of

 necessity, links the property right to some document evincing title or other proof of the right of

 ownership. That is not the kind of property at issue in this case.” Kolon Indus., 2011 WL

 4625760 at *4. As this Court has also recognized:

         In this technology-driven world, the value of intangible property cannot be
         disputed, and a decision to limit conversion to tangible property or intangible
         property merged into a document would leave domain name users, satellite
         programmers, owners of telephone networks, and internet servers, and others
         similarly situated unable to use an action for conversion for substantial
         interference with their rights.
 Id. at *5.

         Other courts within this Circuit have also refused to extend United Leasing for the

 principle Hanson seeks to apply, namely, courts have refused to follow the argument that

 conversion covers only “tangible property.” See Raleigh Radiology, Inc. v. Eggleston &

 Eggleston, P.C., 2009 WL 3764092, *4 (W.D. Va. Nov. 10, 2009) (rejecting defendant’s

 argument based on United Leasing that conversion did not apply to the right to receive

 settlement proceeds); Pre-Fab Steel Erectors, Inc. v. Stephens, 2009 WL 891828, *12 (W.D. Va.

 Apr. 1, 2009) (rejecting defendant’s argument based on United Leasing that conversion did not

 apply to money that was not evidenced by a document). As these decisions have recognized, and

 the Fourth Circuit has explained, United Leasing was decided on the basis that the plaintiff never

 had a right to the stock it claimed was converted, because the basis for that alleged right was a

 forged document. Fed. Ins. Co. v. Smith, 63 Fed. Appx. 630, 635 (4th Cir. Feb. 25, 2003). For

 this reason, “[t]he Court held that United Leasing never had a right to the shares, but had only an

 ‘undocumented intangible property right’ that did not give rise to a common law cause of action


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 for conversion.” Id. This limited holding of United Leasing does not apply when the plaintiff had

 an actual right to the property at the time of its conversion, regardless of the form that property

 takes.

          In any event, the information EMG treated as confidential or secret included tangible

 information and information recognized by tangible documents. (See Compl. Exh. A, § 1). Even

 under Hanson’s novel theory of conversion, EMG pleaded a cause of action. Whether it can

 ultimately prove that cause of action is an evidentiary question that cannot be resolved at this

 stage.

          Defendants also argue that conversion cannot lie over non-trade secrets. (ECF No. 13 at

 14). This is plainly wrong. The cause of action for conversion is not limited to trade secrets. In

 fact, the Uniform Trade Secrets Act expressly states that other civil remedies are available for

 claims based on the misappropriation of non-trade secrets. See Va. Code § 59.1-341(B)(2) (trade

 secret act does not displace “other civil remedies that are not based on misappropriation of a

 trade secret”). There is a vast amount of information that will not amount to a trade secret, but

 still can be wrongfully converted. Contrary to Hanson’s argument, conversion clearly lies to

 remedy the misappropriation of property that is not a trade secret.

          IV.    EMG pleaded a sufficient cause of action for tortious interference with its
                 contract expectancies (Count VI)

          To establish a claim of tortious interference with contract expectancies, the plaintiff must

 show “the existence of a business relationship or expectancy, with a probability of future

 economic benefit to plaintiff.” Commercial Bus. Sys., Inc. v. Halifax Corp., 253 Va. 292, 300,

 484 S.E.2d 892, 896 (1997). Defendants challenge EMG’s tortious interference claim solely on

 the grounds that it has not pled the existence of a contract expectancy that it was likely to realize.

 (ECF No. 13 at 11-12). But EMG’s allegations plainly establish this fact.

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        EMG had secured and performed three contracts to provide hotel lodging to military

 personnel. (Compl. ¶ 16). These contracts came up for re-bid. (Id). EMG was the second lowest

 bidder on each contract, and in each case was slightly underbid by Blackcrest. (Id.). Blackcrest

 was able to undercut EMG’s bid because of Hanson’s access to and knowledge of EMG’s Trade

 Secrets and other confidential information, and his wrongful misappropriation and disclosure of

 the same. (Compl. ¶ 19). If EMG and Hanson had not acted unlawfully by misappropriating the

 EMG Trade Secrets, and by using EMG’s confidential information, EMG would have realized

 each of these contracts by being the winning bidder. The fact that EMG came in second only to

 Blackcrest shows that it was “reasonably certain” EMG would have secured the contracts on re-

 bid but-for Defendants’ wrongful conduct. These allegations are sufficient to establish a prima

 facie case of tortious interference.

                                          CONCLUSION

        WHEREFORE, Plaintiff Ecology Mir Group, LLC, requests entry of an Order denying

 the Motion to Dismiss filed by Defendants Joseph J. Hanson and Blackcrest Associates, LLC,

 and awarding any additional relief to which Plaintiff is entitled. In the alternative, Plaintiff

 requests leave to amend its Complaint.



        Respectfully submitted this 22nd day of August, 2017.



                                             ECOLOGY MIR GROUP, LLC
                                             By Counsel




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 22, 2017, I electronically filed the foregoing with the
 Clerk of Court using the CM/ECF system, which will then send a notification of such filing
 (NEF) to the following:

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